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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ALIGN TECHNOLOGY, INC.                               )
                                                     )
                   Plaintiff,                        )
                                                     )
       v.                                            )       C.A. No. 18-cv-01949 (LPS)
                                                     )
3SHAPE A/S, 3SHAPE TRIOS A/S,                        )
and 3SHAPE INC.,                                     )
                                                     )
                   Defendants.


            ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS OF
                3SHAPE A/S, 3SHAPE TRIOS A/S AND 3SHAPE, INC.

       Defendants 3Shape A/S, 3Shape Trios A/S, and 3Shape, Inc. (collectively “Defendants”

or “3Shape”), hereby answer Plaintiff Align Technology, Inc. (“Align” or “Plaintiff”) Complaint,

and present their affirmative defenses and counterclaims, as follows:


                                         THE PARTIES

       1.      Align is a Delaware corporation incorporated in April 1997, with its principal
place of business in San Jose, California.

RESPONSE: Denied, except admit upon information and belief that Align is a Delaware

Corporation with its principal place of business in San Jose, California.

        2.     On information and belief, 3Shape A/S (“3Shape A/S”) is a Danish corporation
with a principal place of business at Holmens Kanal 7, 1060 Copenhagen K, Denmark.

RESPONSE: Defendants admit that 3Shape A/S is a Danish corporation with principal place of

business at Holmens Kanal 7, 1060 Copenhagen K, Denmark.

       3.     On information and belief, 3Shape TRIOS A/S (“3Shape TRIOS A/S”) is a
Danish corporation with a principal place of business at Holmens Kanal 7, 1060 Copenhagen K,
Denmark.

RESPONSE: Defendants admit that 3Shape TRIOS A/S is a Danish corporation with principal

place of business at Holmens Kanal 7, 1060 Copenhagen K, Denmark.

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       4.      On information and belief, 3Shape Inc. (“3Shape US”) is a Delaware corporation
with a principal place of business at 10 Independence Boulevard, Suite 150, Warren, New Jersey
07059.

RESPONSE: Defendants admit that 3Shape Inc. is a Delaware corporation with a principal

place of business at 10 Independence Boulevard, Suite 150, Warren, New Jersey 07059.

        5.      On information and belief, 3Shape A/S, 3Shape TRIOS A/S, and 3Shape US are
related sister companies commonly held by the same holding company, 3Shape Holding A/S.

RESPONSE: Defendants admit that 3Shape A/S, 3Shape TRIOS A/S, and 3Shape, Inc. are

sister companies. Defendants admit that 3Shape A/S, 3Shape TRIOS A/S, and 3Shape, Inc. are

each subsidiaries of 3Shape Holding A/S. To the extent there are any remaining allegations in

paragraph 5 not addressed by the foregoing, Defendants deny them.

        6.       3Shape is intentionally disregarding Align’s patent rights. Align and 3Shape
compete in the digital dentistry industry. That is, both companies sell devices that obtain digital
models of a patient’s teeth and software for improving, understanding, and manipulating those
models to improve a patient’s dental and orthodontic treatment plan. Align is a leader in the
digital dentistry industry; 3Shape is a follower. Align has developed and acquired patents on key
digital dentistry technology; 3Shape saw Align’s patented technology and copied it. Align has
suffered and continues to suffer significant injury because of 3Shape’s willful patent
infringement. Align brings this complaint to hold 3Shape responsible for its infringement and to
protect its intellectual property rights.

RESPONSE: Defendants deny all allegations in paragraph 6, except Defendants admit that

3Shape’s TRIOS and Align’s iTero scanners compete against each other in the market for

Scanners for Orthodontic treatment.

                                JURISDICTION AND VENUE

       7.      This lawsuit is an action for patent infringement arising under the patent laws of
the United States, Title 35 of the United States Code.

RESPONSE: This paragraph contains legal conclusions to which no response is required. To

the extent any response is required, Defendants admit that Plaintiff purports to bring this action

under the patent laws of the United States, pursuant to Title 35 of the United States Code. To the




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extent there are any remaining allegations in paragraph 7 not addressed by the foregoing,

Defendants deny them.

       8.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§§ 1331 and 1338(a).

RESPONSE: This paragraph contains legal conclusions to which no response is required. To

the extent any response is required, Defendants admit that this Court has subject matter

jurisdiction over actions arising under 28 U.S.C. §§ 1331 and 1338, but deny that Plaintiff is

entitled to any relief thereunder, and deny all remaining allegations in paragraph 8.

       9.     This Court has personal jurisdiction over Defendants in that they have, directly or
through agents and/or intermediaries, committed acts within Delaware giving rise to this action
and/or have established minimum contacts with Delaware such that the exercise of jurisdiction
would not offend traditional notions of fair play and justice.

RESPONSE: This paragraph contains legal conclusions to which no response is required. To

the extent any response is required, Defendants are not contesting jurisdiction or venue in the

United States District Court for the District of Delaware for the limited purposes of this civil

action only. To the extent there are any remaining allegations in paragraph 9 not addressed by

the foregoing, Defendants deny them.

         10.    On information and belief, Defendants regularly conduct business in Delaware,
and purposefully availed themselves of the privileges of conducting business in Delaware. In
particular, on information and belief, Defendants, directly and/or through their agents and/or
intermediaries, make, use, import, offer for sale, sell, and/or advertise their products and
affiliated services in Delaware. Defendants have placed, and continue to place, infringing
products into the stream of commerce, via an established distribution channel, with the
knowledge and/or understanding that such products are sold in the United States including in
Delaware and specifically including this District.

RESPONSE: Denied.

        11.    On information and belief, Defendants have derived substantial revenue from
their infringing activity occurring with the State of Delaware and within this District and/or
should reasonably expect their actions to have consequences in Delaware. In addition,
Defendants have, and continue to, knowingly induce infringement within this District by
advertising, marketing, offering for sale and/or selling devices containing infringing functionality
within this District to at least resellers, distributors, customers, dentists, orthodontists, dental and

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orthodontic labs, and/or other end users, and by providing instructions, user manuals, in person
and online training, advertising and/or marketing materials which facilitate, direct or encourage
the use of infringing functionality with knowledge thereof.

RESPONSE: Denied.

       12.     Defendants have committed patent infringement in Delaware that has led to
foreseeable harm and injury to Align, a Delaware corporation.

RESPONSE: Denied.

        13.   Additionally, 3Shape A/S and 3Shape TRIOS A/S are subject to jurisdiction in
the United Sates, and specifically in Delaware, pursuant to FED. R. CIV. P. 4(k)(2). 3Shape A/S
and 3Shape TRIOS A/S have contacts with the United States that include, inter alia, advertising,
offering to sell, and/or selling their products and software throughout the United States,
including Delaware and this District.

RESPONSE: This paragraph contains legal conclusions to which no response is required. To

the extent any response is required, 3Shape A/S and 3Shape TRIOS A/S are not contesting

jurisdiction or venue in the United States District Court for the District of Delaware for the

limited purposes of this civil action only. To the extent there are any remaining allegations in

paragraph 13 not addressed by the foregoing, Defendants deny them.

        14.    This Court also has personal jurisdiction over 3Shape US because 3Shape US is a
Delaware corporation and thus resides within, and has consented to personal jurisdiction within,
this District.

RESPONSE: This paragraph contains legal conclusions to which no response is required. To

the extent any response is required, 3Shape US is not contesting jurisdiction or venue in the

United States District Court for the District of Delaware for the limited purposes of this civil

action only. To the extent there are any remaining allegations in paragraph 14 not addressed by

the foregoing, Defendants deny them.

        15.    The Court further has personal jurisdiction over 3Shape US because 3Shape US
has committed, or aided, abetted, contributed, and/or participated in the commission of tortious
acts of patent infringement that have led to foreseeable harm and injury to Align, which is a
corporation organized and existing under the laws of the State of Delaware. Likewise, 3Shape
A/S and 3Shape TRIOS A/S alone and/or in concert with 3Shape US or others, have committed,


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or aided, abetted, contributed, and/or participated in the commission of tortious acts of patent
infringement that have led to foreseeable harm and injury to Align.

RESPONSE: Denied.

       16.     Venue is proper pursuant to 28 U.S.C. §§ 1391 and 1400(b).

RESPONSE: This paragraph contains legal conclusions to which no response is required. To

the extent any response is required, Defendants are not contesting venue in the United States

District Court for the District of Delaware for the limited purposes of this civil action only. To

the extent there are any remaining allegations in paragraph 16 not addressed by the foregoing,

Defendants deny them.

                                   THE PATENTS-IN-SUIT

        17.    On December 19, 2017, the U.S. Patent and Trademark Office duly and lawfully
issued U.S. Patent No. 9,844,420 (“the ’420 patent”), entitled “System and Method for
Positioning Three-Dimensional Brackets on Teeth” naming Ka Man Cheang as the inventor.
Align is the owner by assignment of all right, title and interest in the ’420 patent and has
exclusive right to bring suit to enforce the patent. Evidence of such assignment has been
recorded with the U.S. Patent and Trademark Office at Reel/Frame 018418/0912. A true and
correct copy of the ’420 patent is attached hereto as Exhibit 1 to this complaint.

RESPONSE: Defendants admit U.S. Patent No. 9,844,420 (“the ’420 patent”) states that it

issued on December 19, 2017. The ’420 Patent is entitled “System and Method for Positioning

Three-Dimensional Brackets on Teeth” and names Ka Man Cheang as an inventor. To the extent

there are any remaining allegations in paragraph 17 not addressed by the foregoing, Defendants

deny them.


        18.     On April 15, 2008, the U.S. Patent and Trademark Office duly and lawfully
issued U.S. Patent No. 7,357,634 (“the ’634 patent”), entitled “Systems and Methods for
Substituting Virtual Dental Appliances” naming Peter G. Knopp as the inventor. Align is the
owner by assignment of all right, title and interest in the ’634 patent and has exclusive right to
bring suit to enforce the patent. Evidence of such assignment has been recorded with the U.S.
Patent and Trademark Office at Reel/Frame 015965/0734. A true and correct copy of the ’634
patent is attached hereto as Exhibit 2 to this complaint.




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RESPONSE: Defendants admit that U.S. Patent No. 7,357,634 (“the ’634 patent”) states that it

issued on April 15, 2008. The ’634 patent is entitled “Systems and Methods for Substituting

Virtual Dental Appliances and names Peter G. Knopp as an inventor. To the extent there are any

remaining allegations in paragraph 18 not addressed by the foregoing, Defendants deny them.

       19.     On May 22, 2018, the U.S. Patent and Trademark Office duly and lawfully issued
U.S. Patent No. 9,975,294 (“the ’294 patent”), entitled “Method for Preparing a Physical Plaster
Model” naming Eldad Taub and Avi Kopelman as the inventors. Align is the owner by
assignment of all right, title and interest in the ’294 patent and has exclusive right to bring suit to
enforce the patent. Evidence of such assignment has been recorded with the U.S. Patent and
Trademark Office at Reel/Frame 034483/0930. A true and correct copy of the ’294 patent is
attached hereto as Exhibit 3 to this complaint.

RESPONSE: Defendants admit that U.S. Patent No. 9,975,294 (“the ’294 patent”) states that it

issued on May 22, 2018. The ’294 patent is entitled “Method for Preparing a Physical Plaster

Model” and names Eldad Taub and Avi Kopelman as inventors. To the extent there are any

remaining allegations in paragraph 19 not addressed by the foregoing, Defendants deny them.


        20.    On January 22, 2013, the U.S. Patent and Trademark Office duly and lawfully
issued U.S. Patent No. 8,359,115 (“the ’115 patent”), entitled “Method for Manipulating a
Dental Virtual Model, Method for Creating Physical Entities Based on A Dental Virtual Model
Thus Manipulated, and Dental Models Thus Created” naming Eldad Taub and Avi Kopelman as
the inventors. Align is the owner by assignment of all right, title and interest in the ’115 patent
and has exclusive right to bring suit to enforce the patent. Evidence of such assignment has been
recorded with the U.S. Patent and Trademark Office at Reel/Frame 034545/0328. A true and
correct copy of the ’115 patent is attached as Exhibit 4 to this complaint.

RESPONSE: Defendants admit that U.S. Patent No. 8,359,115 (“the ’115 patent”) states that it

issued on January 22, 2013. The ’115 patent is entitled “Method for Manipulating a Dental

Virtual Model, Method for Creating Physical Entities based on a Dental Virtual Model thus

Manipulated, and Dental Models thus Created” and names Avi Kopelman and Eldad Taub as

inventors. To the extent there are any remaining allegations in paragraph 19 not addressed by

the foregoing, Defendants deny them.



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        21.    On August 12, 2014, the U.S. Patent and Trademark Office duly and lawfully
issued U.S. Patent No. 8,805,563 (“the ’563 patent”), entitled “Method for Manipulating a
Dental Virtual Model, Method for Creating Physical Entities Based on A Dental Virtual Model
Thus Manipulated, and Dental Models Thus Created” naming Eldad Taub and Avi Kopelman as
the inventors. Align is the owner by assignment of all right, title and interest in the ’563 patent
and has exclusive right to bring suit to enforce the patent. Evidence of such assignment has been
recorded with the U.S. Patent and Trademark Office at Reel/Frame 034545/0328. A true and
correct copy of the ’563 patent is attached as Exhibit 5 to this complaint.

RESPONSE: Defendants admit that U.S. Patent No. 8,805,563 (“the ’563 patent”) states that it

issued on August 12, 2014. The ’563 patent is entitled “Method for Manipulating a Dental

Virtual Model, Method for Creating Physical Entities based on a Dental Virtual Model thus

Manipulated, and Dental Models thus Created” and names Avi Kopelman and Eldad Taub as

inventors. To the extent there are any remaining allegations in paragraph 19 not addressed by

the foregoing, Defendants deny them.




                                         BACKGROUND

       22.     Align was founded in 1997 and is a global medical device company with industry
leading innovative products such as the iTero intraoral scanner and the Invisalign clear aligner
system that help dental and orthodontic professionals deliver effective, cutting-edge dental and
orthodontic options to their patients.

RESPONSE: Denied, except admit that Align is a global medical device company that sells

iTero intraoral scanners and the Invisalign clear aligners in the United States.

        23.    Align’s iTero intraoral scanners scan and provide, in conjunction with Align’s
Invisalign orthodontic system, color 3D imaging of an intraoral surface, such as the teeth and
gums, without drying and powdering the intraoral surface, resulting in a digital impression.
Align’s iTero intraoral scanners and the software within the iTero and Invisalign systems that
works in conjunction with the scanner thus eliminate the need for traditional teeth impressions
typically taken with an elastomeric or other material.

RESPONSE: Denied, except admit that Align iTero scanners provide 3D scanning capabilities

allowing for digital impressions of a patient’s full mouth for orthodontic treatment.




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        24.    The digital impression captured by Align’s iTero intraoral scanners, when teamed
with Align’s Invisalign system, can be used in a variety of dental and orthodontic applications
such as, for example, tracking a patient’s progress during the Invisalign treatment, tracking
changes in a patient’s dentition over time, mapping the occlusion of a patient’s teeth, and
correcting inaccurate scan data.

RESPONSE: Denied, except admit that Align iTero scanners provide 3D scanning capabilities

allowing for digital impressions of a patient’s full mouth for orthodontic treatment.

        25.     Align’s iTero intraoral scanner and Invisalign system constitute a proprietary
system and method for treating, among other things, malocclusion, misalignment, and/or chipped
or missing teeth using a high-precision, high-speed intraoral scanner and related software to
create a variety of orthodontic and dental devices including, but not limited to, crowns, bridges,
bracket templates, aligners and implants. Each dental device is custom-manufactured for each
patient using computer-aided design techniques and sophisticated computer graphic interfaces to
communicate with the patient’s dental or orthodontic professional in the planning,
implementation, and revision of the customized treatment program.

RESPONSE: Denied, except admit that Align’s iTero scanners are promoted as assisting

clinicians and technicians in the treatment of dental disorders and orthodontia.

        26.    Align’s iTero intraoral scanner and Invisalign system, developed by Align over
many years and at great expense and effort, represent a breakthrough in the manufacturing
principle of “mass customization” and a vast improvement over conventional methods for
treating, among other things, chipped or missing teeth, misalignment of teeth and malocclusion.
Additionally, the iTero intraoral scanner and Invisalign system provide a “chair-side” platform
for live viewing of the digital impression as it is being built on the display screen during
scanning, for accessing valuable digital diagnosis and treatment tools, and for enhancing
accuracy of records, treatment efficiency, and the overall patient experience. The innovations
embodied in Align’s iTero intraoral scanner and Invisalign system are protected by numerous
United States and foreign patents.

RESPONSE: Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 28, and therefore deny the same.

       27.    3Shape was founded in the early 2000s as a hearing aid company. It was not until
2011 that 3Shape entered into the digital dentistry market and into competition with Align.

RESPONSE: Denied.

        28.     On information and belief, 3Shape designs, develops, markets, manufactures,
uses, sells, offers for sale, and/or imports its digital dentistry solutions within the United States.
For example, 3Shape designs, develops, markets, manufactures, uses, sells, offers for sale, and/or
imports 3Shape TRIOS and TRIOS 3 intraoral scanning systems, as well as related TRIOS

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software, TRIOS Module software, Ortho System software, and Dental System software
(collectively “3Shape Software”) within the United States.

RESPONSE: Denied.

       29.      3Shape’s website, www.3shape.com, provides a Webshop for sales of its products
and updating subscriptions to its software. (Exhibit 6). 3Shape’s website also offers training and
videos on how to use the TRIOS and TRIOS 3 intraoral scanning systems and the 3Shape
Software. (Exhibit 7). Additionally, 3Shape has a YouTube channel with training videos at
www.youtube.com/3shapeTrainingVideos showing how to use the TRIOS and TRIOS 3 intraoral
scanning systems, and the 3Shape Software. (Id.) 3Shape’s website provides information for
contacts in the United States for its Sales and 3Shape Academy Training. (Exhibit 8).

RESPONSE: Defendants lack sufficient information regarding the 3Shape entity to which the

allegations of paragraph 29 are directed to admit or deny those allegations, and on that basis,

deny the allegations of paragraph 29.

       30.    3Shape’s website further provides a “Knowledge Center” with user manuals on
the products and how to use the products to encourage purchase and use of 3Shape products,
including for the TRIOS and TRIOS 3 intraoral scanning systems (Exhibit 9), the TRIOS
Module software (Exhibit 10), the Ortho System software (Exhibit 11); and the Dental System
software (Exhibit 12).

RESPONSE: Defendants lack sufficient information regarding the 3Shape entity to which the

allegations of paragraph 30 are directed to admit or deny those allegations, and on that basis,

deny the allegations of paragraph 30.

         31.    3Shape attends trade shows in the United States, where it has demonstrated, and
continues to demonstrate, the use of the TRIOS and TRIOS 3 intraoral scanning systems and its
software to the public and orthodontists. (Exhibit 13 (US International Trade Commission, Inv.
No. 337-TA-1091, Open Sessions, Sept. 19, 2018, at 807:14-21; 899:9-13)). 3Shape
demonstrates the products at trade shows because it hopes that someone will buy its products.
(Id. at 899:14-17.)

RESPONSE: Defendants lack sufficient information regarding the 3Shape entity to which the

allegations of paragraph 31 are directed to admit or deny those allegations, and on that basis,

deny the allegations of paragraph 31.

        32.    On information and belief, 3Shape has used, sold, and offered for sale its digital
dentistry solutions, including the TRIOS and TRIOS 3 intraoral scanning systems and the
3Shape Software, at conferences in the United States, including at least the 2018 Greater New

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York Dental Meeting (Exhibit 14 at 157 (List of Exhibitors)) and the 2018 Chicago Dental
Society Midwinter Meeting.




https://www.3shape.com/-/media/corporate-video/exhibitions-and-events-new/highlights-
fromchicago.mp4. And on information and belief, 3Shape plans to offer its digital dentistry
solutions for sale at the 2019 Chicago Midwinter Meeting. (Exhibit 15 at 144 (Exhibitor Index).)

RESPONSE: Defendants lack sufficient information regarding the 3Shape entity to which the

allegations of paragraph 32 are directed to admit or deny those allegations, and on that basis,

deny the allegations of paragraph 32.

        33.     3Shape’s TRIOS and TRIOS 3 intraoral scanning systems, as well as the related
3Shape Software, directly compete with the Align’s iTero scanners and Invisalign system. On
information and belief, 3Shape developed, made and sold its intraoral scanning systems and
software with the intent to directly compete with Align’s intraoral scanners and functionalities
within the iTero and Invisalign systems. Before introducing its products, 3Shape was aware of
the structure, design and operation of Align’s patented intraoral scanners and software, including
but not limited to intraoral scanners and software developed by Cadent Holdings, Inc. (“Cadent”)
which Align acquired on April 29, 2011. Moreover, 3Shape has previously entered into
agreements with Align that provided 3Shape with significant access to Align’s patented
technologies.




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RESPONSE: Denied that TRIOS and TRIOS 3 are products of 3Shape A/S and 3Shape, Inc.,

and therefore deny the allegations of paragraph 33, except admit that the TRIOS and iTero

scanners compete against each other in the market for scanners for orthodontic treatment.

        34.     On information and belief, 3Shape developed, made, and sold its infringing
TRIOS and TRIOS 3 scanning systems and infringing 3Shape Software despite having
knowledge of the Align patents at issue based on, at a minimum (i) its knowledge of the Align
intraoral scanners and software being covered by numerous patents, including the patents at
issue, through its prior business dealings with Align, including those with Cadent, whereby
3Shape acquired specific and detailed knowledge from Align regarding the structure, function,
operation and commercial benefits of the Align products and the patent protection afforded to
certain structures, functions and operations of the patented Align technology; (ii) by virtue of
3Shape’s patent prosecution activities wherein Align’s patents at issue and/or family members
were cited as prior art, including but not limited to U.S. Patent Nos. 9,844,420, 7,357,634,
9,975,294, 8,359,115, and 8,805,563, their applications or related family members; and/or (iii)
by virtue of 3Shape’s U.S. Food and Drug Section 510(k) premarket notification of intent to
market the accused products which identifies 3Shape’s accused products as substantially
equivalent to Align’s patent practicing products (see, e.g., Exhibit 16).

RESPONSE: Denied.

         35.    Align has asserted several of its patents in other actions in this District and in the
United States International Trade Commission (“ITC”) beginning in 2017, including patent
infringement allegations against the TRIOS and TRIOS 3 intraoral scanning systems, and the
3Shape Software. On the public record in Investigation No. 337-TA-1091 in the ITC, 3Shape’s
Vice President of Orthodontics Mr. Allan Hyldal testified that at least as of 2017, he requested
3Shape engage in a “big analysis” of Align’s patents. (Exhibit 13 at 894:14-17.) 3Shape engaged
in this analysis because it believed it could not use Align’s technology. (Id. at 896:18-897:6.)
3Shape was performing a risk assessment of Align’s patent portfolio because 3Shape recognized
it did not have a license to Align’s patents. (Id. at 897:7-13.) During this assessment, internal
concerns at 3Shape were raised about Align’s patents. (Id. at 905:3-11.) Following Align’s filing
of the patent infringement lawsuits in 2017, 3Shape continues to make, use, sell, and/or offer for
sale its products, including the TRIOS and TRIOS 3 scanning systems and the 3Shape Software,
in the United States, to import the products into the United States, and to encourage its resellers
and others to sell and use its products in the United States, even though it understood doing so
would be illegal if it infringed Align’s patents as Align alleged. (Id. at 881:9-882:5.)

RESPONSE: Denied.

                                           COUNT I
                                (Infringement of the ‘420 Patent)

        36.      Align incorporates by reference its allegations in Paragraphs 1-35 as if fully
restated in this paragraph.


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RESPONSE: Defendants restate and reincorporate their responses to paragraphs 1-35 as if fully

set forth herein.

       37.    The ’420 patent describes in detail and claims in various ways inventions in
systems and devices positioning a virtual bracket on a patient’s tooth.

RESPONSE: Denied.

        38.     The ’420 patent describes problems and shortcomings in the then-existing field of
digital dentistry and describes and claims novel and inventive technological improvements and
solutions to such problems and shortcomings. (Exhibit 1 at 1:20-2:7.) The claimed invention
utilizes a specialized plane such as the curve of Spee or the Andrew’s plane passing through
virtual crowns. Using this specialized plane through the virtual crowns improves the accuracy in
accessing the optimal surface for bracket placement on severely crowded teeth or in teeth where
the bonding surface is obstructed by teeth in the opposing arch during jaw closure. This
improved data resulted in better treatment plans for patients through dynamic predictive staging
and planning.

RESPONSE: Denied.

        39.     On information and belief, 3Shape has been and is now directly and/or indirectly
infringing, literally and/or under the doctrine of equivalents, the ’420 patent by making, using,
selling, and/or offering for sale in the United States, and/or importing into the United States,
products covered by one or more of the claims of the ’420 patent, including the Ortho System
software product.

RESPONSE: Denied.

        40.     The ’420 patent is generally directed to a system for positioning a virtual bracket
on a patient’s tooth. Claim 11 of the ’420 patent recites a system for positioning a virtual bracket
on a patient's tooth, the system comprising: a processor; and memory comprising program code
that, when executed by the processor, causes the system to: receive a digital data set representing
a patient's teeth; generate, on a display, a graphical representation of a reference surface passing
through a crown of each of the patient's teeth, the reference surface defined at least in part by one
or more of a curve of Spee or an Andrew's plane corresponding to the digital data set, wherein
the graphical representation is manipulable on the display by a user so as to modify the reference
surface; and determine an initial position for the virtual bracket on the patient's tooth, wherein
the virtual bracket is aligned with the graphical representation of the reference surface generated
on the display.

RESPONSE: Denied.

        41.   3Shape’s TRIOS and TRIOS 3 intraoral scanning systems and/or the Ortho
System software product infringes at least claim 11 of the ’420 patent. For example, 3Shape’s
Ortho System software product is a system for positioning a virtual bracket on a patient's tooth,
the system comprising: a processor; and memory comprising program code that, when executed

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by the processor, causes the system to: receive a digital data set representing a patient's teeth;
generate, on a display, a graphical representation of a reference surface passing through a crown
of each of the patient's teeth, the reference surface defined at least in part by one or more of a
curve of Spee or an Andrew's plane corresponding to the digital data set, wherein the graphical
representation is manipulable on the display by a user so as to modify the reference surface; and
determine an initial position for the virtual bracket on the patient's tooth, wherein the virtual
bracket is aligned with the graphical representation of the reference surface generated on the
display, as shown, for example, in the 3Shape Ortho System User Manual and Training Video
below.




(See, e.g., 3Shape Ortho System Manual 1.7.1.1 (Oct. 18, 2018) (available at
https://www.3shape.com/en/knowledge-center/user-manuals#ortho-system) (herein “Ortho
System Manual”) at 10 (showing that 3Shape’s Ortho System includes the Bracket Placement
module).)




(See, e.g., id. at 135 (showing that the Bracket Placement module is a system for positioning a
virtual bracket on a patient’s tooth).)



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(See, e.g., id. at 136-38 (showing that Ortho System receives a digital data set representing a
patient's teeth; generate, on a display, a graphical representation of a reference surface passing
through a crown of each of the patient's teeth.) The reference surface passing through the teeth is
a sagittal plane as shown above and is defined at least in part by one or more of a curve of Spee
or an Andrew’s plane corresponding to the digital data set.




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(See, e.g., Brackets Placement Workflow in 3Shape Video at 5:54, available at
https://www.youtube.com/watch?v=oh--TDg3ACA.) The graphical representation is
manipulable on the display by a user so as to modify the reference surface.




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(See, e.g., Brackets Placement Workflow in 3Shape Video at 6:07 and 7:36, available at
https://www.youtube.com/watch?v=oh--TDg3ACA.) 3Shape’s Ortho System determines an
initial position for the virtual bracket on the patient's tooth, which is shown by the red FA points
and the virtual bracket is aligned with the graphical representation of the reference surface
generated on the display.

RESPONSE: Denied.

        42.    3Shape possesses knowledge of and is aware of the ’420 patent by virtue of, at a
minimum, the filing of this Complaint and, on information and belief, possessed prior knowledge
of the ’420 patent by virtue of the prior business dealings between 3Shape and Align and other
facts described above.

RESPONSE: Denied.

       43.      3Shape also has been and is now actively inducing infringement of one or more
claims of the ’420 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.

        44.    On information and belief, 3Shape A/S and 3Shape TRIOS A/S alone and/or
acting in concert with, directing and/or authorizing 3Shape US to make, use, sell or offer for sale
in the United States or import into the United States the TRIOS and TRIOS 3 intraoral scanning
systems and/or the Ortho System software product (Exhibit 6; Exhibit 13 at 809:1-810:3, 899:2-
24), possesses an affirmative intent to actively induce infringement by others (Exhibits 6-11,
Exhibit 13 at 809:1-810:3, 899:2-24). On information and belief, 3Shape A/S and/or 3Shape
TRIOS A/S induces 3Shape US to infringe (Exhibits 6-11).

RESPONSE: Denied.

        45.    On information and belief, 3Shape US alone and/or acting in concert with,
directing and/or authorizing 3Shape A/S and/or 3Shape TRIOS A/S to make, use, sell or offer for
sale in the United States or import into the United States the TRIOS and TRIOS 3 intraoral
scanning systems and/or the Ortho System software product (Exhibit 6; Exhibit 13 at 809:1-
810:3, 899:2-24), possesses an affirmative intent to actively induce infringement by others.
(Exhibits 6-11; Exhibit 13 at 809:1-810:3, 899:2-24).

RESPONSE: Denied.

        46.     3Shape has intended, and continues to intend to induce infringement of the ’420
patent by others and has knowledge, with specific intent, that the inducing acts would cause
infringement or has been willfully blind to the possibility that its inducing acts would cause the
infringing acts. For example, 3Shape is aware that the features claimed in the ’420 patent are
features in the Ortho System software product and are features used by others that purchase the
Ortho System software product and, therefore, that purchasers and end users will infringe the
’420 patent by using the Ortho System software product in accordance with the promotional and
training material disseminated by 3Shape. 3Shape actively induces infringement of the ’420


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patent with knowledge and the specific intent to encourage that infringement by, inter alia,
disseminating the Ortho System software product and providing promotional materials,
marketing materials, training materials, instructions, product manuals, user guides, and technical
information (including but not limited to the User Manual and training video described in this
Count of the Complaint) to others including, but not limited to, resellers, distributors, customers,
dentists, orthodontists, dental and orthodontic labs, and/or other end users of the Ortho System
software product. Those third parties directly infringe the ’420 patent by making, using, selling,
offering for sale, and/or importing the Ortho System software product.

RESPONSE: Denied.

       47.      3Shape also has been and is now contributing to the infringement of one or more
claims of the ’420 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.

        48.     3Shape has actively, knowingly, and intentionally contributed and continues to
actively, knowingly, and intentionally contribute to the infringement of the ’420 patent by having
sold or offered to sell and continuing to sell or offer for sale the TRIOS and TRIOS 3 intraoral
scanning systems and/or the Ortho System software product within in the United States (Exhibit
6; Exhibit 13 at 809:1-810:3, 899:2-24) and/or by importing the TRIOS and TRIOS 3 intraoral
scanning systems and/or the Ortho System software product into the United States, with
knowledge that the infringing technology in the Ortho System software product is especially
made and/or especially adapted for use in infringement of the ’420 patent (Exhibit 13 at 894:14-
17; 896:18-897:13). 3Shape has contributed to the infringement by others with knowledge that
the infringing technology in the Ortho System software product is a material part of the patented
invention, and with knowledge that the infringing technology in the Ortho System software
product is not a staple article of commerce suitable for substantial non-infringing use, and with
knowledge that others including, but not limited to, resellers, distributors, customers, dentists,
orthodontists, dental and orthodontic labs, and/or other end users of the Ortho System software
product infringe and will continue to infringe the ’420 patent because, due to their specific
designs, the accused products and components thereof do not have any substantial noninfringing
uses. 3Shape has such knowledge at least because the claimed features of the ’420 patent are
used by others including, but not limited to, resellers, distributors, customers, dentists,
orthodontists, dental and orthodontic labs, and/or other end users of the Ortho System software
product (Exhibits 7, 8).


RESPONSE: Denied.

        49.    On information and belief, 3Shape knew or should have known of the ’420 patent
and has acted, and continues to act, in an egregious and wanton manner by infringing the ‘420
patent. On information and belief, 3Shape’s infringement of the ’420 patent has been and
continues to be willful and deliberate. The market for intraoral scanners and related dental and
orthodontic software products contains a limited number of competitors, with Align being a
known pioneer with whom 3Shape has studied familiarity. The companies have worked together
in the past and 3Shape has had ample access to Align’s technology. Moreover, 3Shape spent

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ample time studying Align patents. Upon information and belief, 3Shape knowingly developed
and sold its competitive knockoff products in an infringing manner that was known to 3Shape or
was so obvious that 3Shape should have known about this infringement.

RESPONSE: Denied.

         50.    Moreover, at least as of 2017, 3Shape engaged in a “big analysis” of Align’s
patents. 3Shape engaged in this analysis because it believed it could not use Align’s technology
until at least 2020. 3Shape was performing a risk assessment of Align’s patent portfolio because
3Shape recognized risks in introducing potentially infringing Align’s patents. During this
assessment, internal concerns at 3Shape were raised about Align’s patents. 3Shape continues to
make, use, sell, and/or offer for sale the TRIOS and TRIOS 3 intraoral scanning systems, and the
TRIOS Software, Dental System and/or Ortho System software in the United States, to import
the products into the United States, and to encourage its resellers and others to sell and use the
products in the United States, despite being aware of a substantial risk of infringement.

RESPONSE: Denied.

        51.    On information and belief, despite knowing that its actions constituted
infringement of the ’420 patent and/or despite knowing that that there was a high likelihood that
its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing
actions, and continues to make, use and sell its infringing products.

RESPONSE: Denied.

        52.     3Shape’s acts of infringement have injured and damaged Align.

RESPONSE: Denied.

        53.    3Shape’s wrongful conduct has caused Align to suffer irreparable harm resulting
from the loss of its lawful patent rights to exclude others from making, using, selling, offering to
sell and importing the patented inventions. Upon information and belief, 3Shape will continue
these infringing acts unless enjoined by this Court.

RESPONSE: Denied.

                                         COUNT II
                               (Infringement of the ‘634 Patent)

        54.      Align incorporates by reference its allegations in Paragraphs 1-53 as if fully
restated in this paragraph.

RESPONSE: Defendants restate and reincorporate their responses to paragraphs 1-53 as if fully

set forth herein.

       55.    The ‘634 patent describes in detail and claims in various ways inventions in
systems and devices for improved virtual treatment using one or more dental appliances.

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RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        56.      The ’634 patent describes problems and shortcomings in the then-existing field of
digital dentistry and describes and claims novel and inventive technological improvements and
solutions to such problems and shortcomings. (Exhibit 2 at 1:7-44.) The claimed invention
utilizes a library of virtual brackets that permits an orthodontist to evaluate options by choosing
different bracket prescriptions and features such as hooks or ligation methods before the brackets
are applied to a patient's teeth. The bracket library allows dynamic selection of different bracket
options and as a result, the doctor can try many different solutions, which was not previously
possible or feasible without ruining the plaster model. This further results in better predictive
planning and treatment outcomes.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        57.     On information and belief, 3Shape has been and is now directly and/or indirectly
infringing, literally and/or under the doctrine of equivalents, the ’634 patent by making, using,
selling, and/or offering for sale in the United States, and/or importing into the United States,
products covered by one or more of the claims of the ’634 patent, including the Ortho System
software product.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        58.    The ’634 patent is generally directed to a system for performing a virtual
treatment on a model of a patient’s dentition. Claim 1 of the ’634 patent recites a method for
performing virtual treatment using one or more dental appliances, comprising: receiving a digital
model of a dental appliance; selecting a standard position and orientation for the dental appliance
in relation to a tooth model; and mapping the digital model of the dental appliance to the
standard position and orientation, wherein the mapping comprises setting a plurality of digital
models to the standard position and orientation; wherein the mapping comprises automatically
placing a second dental appliance at a same position as a first dental appliance.




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RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        59.    3Shape’s TRIOS and TRIOS 3 intraoral scanning systems and Ortho System
software product infringes at least claim 1 of the ’634 patent. For example, 3Shape’s Ortho
System software product performs a method for performing virtual treatment using one or more
dental appliances, comprising: receiving a digital model of a dental appliance; selecting a
standard position and orientation for the dental appliance in relation to a tooth model; and
mapping the digital model of the dental appliance to the standard position and orientation,
wherein the mapping comprises setting a plurality of digital models to the standard position and
orientation; wherein the mapping comprises automatically placing a second dental appliance at a
same position as a first dental appliance, as shown, for example, in the 3Shape user manuals
below.




       (See, e.g., 3Shape Ortho System Manual at 10).




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(See, e.g., id. at 135.) The bracket placement tool is for performing virtual treatment using one or
more dental appliances, such as brackets.




(See, e.g., id. at 321.)




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(See, e.g., id. at 138-39.)




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(See, e.g., Brackets Placement Workflow in 3Shape Video at 6:07, 7:36, and 8:13, available at
https://www.youtube.com/watch?v=oh--TDg3ACA.) The bracket placement tool receives a
digital model of the bracket, selecting a standard position and orientation for the dental appliance
in relation to a tooth model using the FA points as shown in the video above. The digital model
of the dental appliance is mapped to the standard position and orientation. As shown above, a
second dental appliance is automatically set at a same position as a first dental appliance.




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RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

       60.     3Shape possesses knowledge of and is aware of the ’634 patent by virtue of, at a

minimum, the filing of this Complaint and, on information and belief, possessed prior knowledge

of the ’634 patent by virtue of the prior business dealings between 3Shape and Align and other

facts described above.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

       61.      3Shape also has been and is now actively inducing infringement of one or more
claims of the ’634 patent, either literally or under the doctrine of equivalents.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        62.    On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S alone and/or
acting in concert with, directing and/or authorizing 3Shape US to make, use, sell or offer for sale
in the United States or import into the United States the TRIOS and TRIOS 3 intraoral scanning
systems and Ortho System software product (Exhibit 6; Exhibit 13 at 809:1-810:3, 899:2-24),
possesses an affirmative intent to actively induce infringement by others (Exhibit 13 at 809:1-
810:3, 899:2-24). On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S induces
3Shape US to infringe (Exhibits 6-11).

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

       On information and belief, 3Shape US alone and/or acting in concert with, directing
and/or authorizing 3Shape A/S and/or 3Shape TRIOS A/S to make, use, sell or offer for sale in
the United States or import into the United States the TRIOS and TRIOS 3 intraoral scanning
systems and Ortho System software product (Exhibit 6; Exhibit 13 at 809:1-810:3, 899:2-24),

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possesses an affirmative intent to actively induce infringement by others. (Exhibits 6-11;
Exhibit 13 at 809:1-810:3, 899:2-24.)

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        63.    3Shape possesses knowledge of and is aware of the ‘634 patent by virtue of, at a
minimum, the filing of this Complaint and, on information and belief, possessed prior knowledge
of the ‘634 patent by virtue of the prior business dealings between 3Shape and Align and other
facts described above.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        64.     3Shape has intended, and continues to intend to induce infringement of the ’634
        patent by others and has knowledge, with specific intent, that the inducing acts would
cause infringement or has been willfully blind to the possibility that its inducing acts would
cause the infringing acts. For example, 3Shape is aware that the features claimed in the ’634
patent are features in the Ortho System software product and are features used by others that
purchase Ortho System software product and, therefore, that purchasers and end users will
infringe the ’634 patent by using the Ortho System software product in accordance with the
promotional and training material disseminated by 3Shape. 3Shape actively induces infringement
of the ’634 patent with knowledge and the specific intent to encourage that infringement by, inter
alia, disseminating the Ortho System software product and providing promotional materials,
marketing materials, training materials, instructions, product manuals, user guides, and technical
information (including but not limited to the User Manual and training video described in this
Count of the Complaint) to others including, but not limited to, resellers, distributors, customers,
dentists, orthodontists, dental and orthodontic labs, and/or other end users of the Ortho System
software product. Those third parties directly infringe the ’634 patent by making, using, selling,
offering for sale, and/or importing the Ortho System software product.


RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

       65.      3Shape also has been and is now contributing to the infringement of one or more
claims of the ’634 patent, either literally or under the doctrine of equivalents.


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RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        66.     3Shape has actively, knowingly, and intentionally contributed and continues to
actively, knowingly, and intentionally contribute to the infringement of the ’634 patent by having
sold or offered to sell and continuing to sell or offer for sale the TRIOS and TRIOS 3 intraoral
scanning systems and Ortho System software product within in the United States (Exhibit 6;
Exhibit 13 at 809:1-810:3, 899:2-24) and/or by importing the TRIOS and TRIOS 3 intraoral
scanning systems and Ortho System software product into the United States, with knowledge that
the infringing technology in the Ortho System software product is especially made and/or
especially adapted for use in infringement of the ’634 patent. (Exhibit 13 at 894:14-17; 896:18-
897:13). 3Shape has contributed to the infringement by others with knowledge that the infringing
technology in the Ortho System software product is a material part of the patented invention, and
with knowledge that the infringing technology in the Ortho System software product is not a
staple article of commerce suitable for substantial non-infringing use, and with knowledge that
others including, but not limited to, resellers, distributors, customers, dentists, orthodontists,
dental and orthodontic labs, and/or other end users of the Ortho System software product infringe
and will continue to infringe the ’634 patent because, due to their specific designs, the accused
products and components thereof do not have any substantial noninfringing uses. 3Shape has
such knowledge at least because the claimed features of the ’634 patent are used by others
including, but not limited to, resellers, distributors, customers, dentists, orthodontists, dental and
orthodontic labs, and/or other end users of the Ortho System software product. (Exhibits 7, 8.)


RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        67.    On information and belief, 3Shape knew or should have known of the ’634 patent
and has acted, and continues to act, in an egregious and wanton manner by infringing the ‘634
patent. On information and belief, 3Shape’s infringement of the ’634 patent has been and
continues to be willful and deliberate. The market for intraoral scanners and related dental and
orthodontic software products contains a limited number of competitors, with Align being a
known pioneer with whom 3Shape has studied familiarity. The companies have worked together
in the past and 3Shape has had ample access to Align’s technology. Moreover, 3Shape spent
ample time studying Align patents. Upon information and belief, 3Shape knowingly developed
and sold its competitive knockoff products in an infringing manner that was known to 3Shape or
was so obvious that 3Shape should have known about this infringement.




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RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

         68.    Moreover, at least as of 2017, 3Shape engaged in a “big analysis” of Align’s
patents. 3Shape engaged in this analysis because it believed it could not use Align’s technology
until at least 2020. 3Shape was performing a risk assessment of Align’s patent portfolio because
3Shape recognized risks in introducing potentially infringing Align’s patents. During this
assessment, internal concerns at 3Shape were raised about Align’s patents. 3Shape continues to
make, use, sell, and/or offer for sale the TRIOS and TRIOS 3 intraoral scanning systems, and the
TRIOS Software, Dental System and/or Ortho System software in the United States, to import
the products into the United States, and to encourage its resellers and others to sell and use the
products in the United States, despite being aware of a substantial risk of infringement.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        69.    On information and belief, despite knowing that its actions constituted
infringement of the ’634 patent and/or despite knowing that that there was a high likelihood that
its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing
actions, and continues to make, use and sell its infringing products.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

       70.     3Shape’s acts of infringement have injured and damaged Align.

RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

        71.    3Shape’s wrongful conduct has caused Align to suffer irreparable harm resulting
from the loss of its lawful patent rights to exclude others from making, using, selling, offering to
sell and importing the patented inventions. Upon information and belief, 3Shape will continue
these infringing acts unless enjoined by this Court.



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RESPONSE: 3Shape responds that the Court has dismissed claims 1-9, 16, 17 and 21 of the

’634 patent from this action as not patent eligible under 35 U.S.C. § 101. 3Shape denies all

remaining allegations.

                                        COUNT III
                              (Infringement of the ‘294 Patent)

        72.      Align incorporates by reference its allegations in Paragraphs 1-71 as if fully
restated in this paragraph.

RESPONSE: Defendants restate and reincorporate their responses to paragraphs 1-71 as if fully

set forth herein.

       73.    The ’294 patent describes in detail and claims in various ways inventions in
systems and devices for improved virtual models of teeth in alignment.

RESPONSE: Denied.

        74.     The ’294 patent describes problems and shortcomings in the then-existing field of
digital dentistry and describes and claims novel and inventive technological improvements and
solutions to such problems and shortcomings. (Exhibit 3 at 1:8-2:38.) The claimed invention
provides a virtual representation of an articulator and dental model that precisely simulates the
occlusion relationship of the jaws. Specifically, the claimed invention is an articulator with
positioning reference components to yield proper occlusion alignment.

RESPONSE: Denied.

        75.     On information and belief, 3Shape has been and is now directly and indirectly
infringing, literally and/or under the doctrine of equivalents, the ’294 patent by making, using,
selling, and/or offering for sale in the United States, and/or importing into the United States,
products covered by one or more of the claims of the ’294 patent, including the TRIOS and
TRIOS 3 intraoral scanning systems and Dental System software product.

RESPONSE: Denied.

        76.    The ’294 patent is directed to a computer system for generating a virtual model of
teeth, comprising: a processor operably coupled to a computer readable storage medium
comprising instructions which, when executed, cause the processor to: receive a virtual model of
a patient's dentition including a virtual upper jaw member and a virtual lower jaw member
respectively corresponding to at least a part of each upper and lower jaw of the patient's
dentition; receive data representative of at least a spatial relationship between the upper and
lower jaws in occlusion; and incorporate in the virtual model a virtual alignment arrangement
configured to provide virtual occlusion alignment between the virtual upper and lower jaw
members according to the spatial relationship, the virtual alignment arrangement comprising a

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first virtual alignment structure of the virtual upper jaw member that receives a second virtual
alignment structure of the virtual lower jaw member or the virtual alignment arrangement
comprises a first virtual alignment structure of the virtual lower jaw member that receives a
second virtual alignment structure of the virtual upper jaw member, thereby defining an updated
virtual model, wherein the first virtual alignment structure comprises a first plurality of virtual
positioning reference components and the second virtual alignment structure comprises a second
plurality of virtual positioning reference components, the first plurality of virtual positioning
reference components configured to fit with the second plurality of virtual positioning reference
components in order to yield proper occlusion alignment of the virtual upper and lower jaw
members.

RESPONSE: Denied.

        77.     3Shape’s TRIOS and TRIOS 3 intraoral scanning systems and Dental System
software product infringes at least claim 1 of the ’294 patent. For example, 3Shape’s TRIOS and
TRIOS 3 intraoral scanning systems and Dental System software product is a computer system
for generating a virtual model of teeth, comprising: a processor operably coupled to a computer
readable storage medium comprising instructions which, when executed, cause the processor to:
receive a virtual model of a patient's dentition including a virtual upper jaw member and a virtual
lower jaw member respectively corresponding to at least a part of each upper and lower jaw of
the patient's dentition; receive data representative of at least a spatial relationship between the
upper and lower jaws in occlusion; and incorporate in the virtual model a virtual alignment
arrangement configured to provide virtual occlusion alignment between the virtual upper and
lower jaw members according to the spatial relationship, the virtual alignment arrangement
comprising a first virtual alignment structure of the virtual upper jaw member that receives a
second virtual alignment structure of the virtual lower jaw member or the virtual alignment
arrangement comprises a first virtual alignment structure of the virtual lower jaw member that
receives a second virtual alignment structure of the virtual upper jaw member, thereby defining
an updated virtual model, wherein the first virtual alignment structure comprises a first plurality
of virtual positioning reference components and the second virtual alignment structure comprises
a second plurality of virtual positioning reference components, the first plurality of virtual
positioning reference components configured to fit with the second plurality of virtual
positioning reference components in order to yield proper occlusion alignment of the virtual
upper and lower jaw members, as shown, for example, in the 3Shape training videos and user
manuals below.




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(See, e.g., 3Shape Dental System 2018 User Manual (herein “Dental System User Manual”) at
374 available at https://www.3shape.com/en/knowledge-center/user-manuals#dental-system.)




(Id. at 375.) The Model Builder receives a virtual model of a patient's dentition including a
virtual upper jaw member and a virtual lower jaw member respectively corresponding to at least
a part of each upper and lower jaw of the patient's dentition. As shown above the Model Builder
receives data representative of at least a spatial relationship between the upper and lower jaws in
occlusion.




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(Id. at 380, 387.)




(See, e.g., 3Shape marketing video (3Shape YouTube channel), available at:
https://www.youtube.com/watch?v=5AkeTHr5mxc.) The Model Builder incorporates in the
virtual model a virtual alignment arrangement configured to provide virtual occlusion alignment
between the virtual upper and lower jaw members according to the spatial relationship. The
virtual alignment arrangement has a first virtual alignment structure of the virtual upper jaw
member that receives a second virtual alignment structure of the virtual lower jaw member or the
virtual alignment arrangement comprises a first virtual alignment structure of the virtual lower
jaw member that receives a second virtual alignment structure of the virtual upper jaw member.
As shown in the video clips of the model builder, the alignment structures define an updated
virtual model, the first virtual alignment structure comprises a first plurality of virtual positioning

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reference components and the second virtual alignment structure comprises a second plurality of
virtual positioning reference components, the first plurality of virtual positioning reference
components configured to fit with the second plurality of virtual positioning reference
components in order to yield proper occlusion alignment of the virtual upper and lower jaw
members.


RESPONSE: Denied.

        78.    3Shape possesses knowledge of and is aware of the ’294 patent by virtue of, at a
minimum, the filing of this Complaint and, on information and belief, possessed prior knowledge
of the ’294 patent by virtue of the prior business dealings between 3Shape and Align and other
facts described above.

RESPONSE: Denied.

       79.      3Shape also has been and is now actively inducing infringement of one or more
claims of the ’294 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.

        80.    On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S alone and/or
acting in concert with, directing and/or authorizing 3Shape US to make, use, sell or offer for sale
in the United States or import into the United States the TRIOS and TRIOS 3 intraoral scanning
systems and Dental System software product (Exhibit 6; Exhibit 13 at 809:1-810:3, 899:2-24),
possesses an affirmative induce infringement by others (Exhibit 13 at 809:1-810:3, 899:2-24).
On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S induces 3Shape US to
infringe (Exhibits 6-10, 10, 12).

RESPONSE: Denied.

        81.    On information and belief, 3Shape US alone and/or acting in concert with,
directing and/or authorizing 3Shape A/S and/or 3Shape TRIOS A/S to make, use, sell or offer for
sale in the United States or import into the United States the TRIOS and TRIOS 3 intraoral
scanning systems and Dental System software product (Exhibit 6; Exhibit 13 at 809:1-810:3,
899:2-24), possesses an affirmative intent to actively induce infringement by others. (Exhibits 6-
10, 12; Exhibit 13 at 809:1-810:3, 899:2-24.)

RESPONSE: Denied.

        82.     3Shape has intended, and continues to intend to induce infringement of the ’294
patent by others and has knowledge, with specific intent, that the inducing acts would cause
infringement or has been willfully blind to the possibility that its inducing acts would cause the
infringing acts. For example, 3Shape is aware that the features claimed in the ’294 patent are
features in the Dental System software product and are features used by others that purchase the
Dental System software product and, therefore, that purchasers and end users will infringe the
’294 patent by using the Dental System software product in accordance with the promotional and

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training material disseminated by 3Shape. 3Shape actively induces infringement of the ’294
patent with knowledge and the specific intent to encourage that infringement by, inter alia,
disseminating the Dental System software product and providing promotional materials,
marketing materials, training materials, instructions, product manuals, user guides, and technical
information (including but not limited to the training videos and User Manual described in this
Count of the Complaint) to others including, but not limited to, resellers, distributors, customers,
dentists, orthodontists, dental and orthodontic labs, and/or other end users of the Dental System
software product. Those third parties directly infringe the ’294 patent by making, using, selling,
offering for sale, and/or importing the TRIOS and TRIOS 3 intraoral scanning systems and
Dental System software product.

RESPONSE: Denied.

       83.      3Shape also has been and is now contributing to the infringement of one or more
claims of the ’294 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.

        84.     3Shape has actively, knowingly, and intentionally contributed and continues to
actively, knowingly, and intentionally contribute to the infringement of the ’294 patent by having
sold or offered to sell and continuing to sell or offer for sale the TRIOS and TRIOS 3 intraoral
scanning systems and Dental System software product within in the United States (Exhibit 6;
Exhibit 13 at 809:1-810:3, 899:2-24) and/or by importing the Dental System software product
into the United States, with knowledge that the infringing technology in the Dental System
software product is especially made and/or especially adapted for use in infringement of the ’294
patent(Exhibit 13 at 894:14-17; 896:18-897:13). 3Shape has contributed to the infringement by
others with knowledge that the infringing technology in the Dental System software product is a
material part of the patented invention, and with knowledge that the infringing technology in the
Dental System software product is not a staple article of commerce suitable for substantial
noninfringing use, and with knowledge that others including, but not limited to, resellers,
distributors, customers, dentists, orthodontists, dental and orthodontic labs, and/or other end
users of the Dental System software product, infringe and will continue to infringe the ’294
patent because, due to their specific designs, the accused products and components thereof do not
have any substantial noninfringing uses. 3Shape has such knowledge at least because the claimed
features of the ’294 patent are used by others including, but not limited to, resellers, distributors,
customers, dentists, orthodontists, dental and orthodontic labs, and/or other end users of the
Dental System software product. (Exhibits 7, 8.)

RESPONSE: Denied.

        85.    On information and belief, 3Shape knew or should have known of the ’294 patent
and has acted, and continues to act, in an egregious and wanton manner by infringing the ‘294
patent. On information and belief, 3Shape’s infringement of the ’294 patent has been and
continues to be willful and deliberate. The market for intraoral scanners and related dental and
orthodontic software products contains a limited number of competitors, with Align being a
known pioneer with whom 3Shape has studied familiarity. The companies have worked together
in the past and 3Shape has had ample access to Align’s technology. Moreover, 3Shape spent

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ample time studying Align patents. Upon information and belief, 3Shape knowingly developed
and sold its competitive knockoff products in an infringing manner that was known to 3Shape or
was so obvious that 3Shape should have known about this infringement.

RESPONSE: Denied.

         86.    Moreover, at least as of 2017, 3Shape engaged in a “big analysis” of Align’s
patents. 3Shape engaged in this analysis because it believed it could not use Align’s technology
until at least 2020. 3Shape was performing a risk assessment of Align’s patent portfolio because
3Shape recognized risks in introducing potentially infringing Align’s patents. During this
assessment, internal concerns at 3Shape were raised about Align’s patents. 3Shape continues to
make, use, sell, and/or offer for sale the TRIOS and TRIOS 3 intraoral scanning systems, and the
TRIOS Software, Dental System and/or Ortho System software in the United States, to import
the products into the United States, and to encourage its resellers and others to sell and use the
products in the United States, despite being aware of a substantial risk of infringement.

RESPONSE: Denied.

        87.    On information and belief, despite knowing that its actions constituted
infringement of the ’294 patent and/or despite knowing that that there was a high likelihood that
its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing
actions, and continues to make, use and sell its infringing products.

RESPONSE: Denied.

        88.     3Shape’s acts of infringement have injured and damaged Align.

RESPONSE: Denied.

        89.    3Shape’s wrongful conduct has caused Align to suffer irreparable harm resulting
from the loss of its lawful patent rights to exclude others from making, using, selling, offering to
sell and importing the patented inventions. Upon information and belief, 3Shape will continue
these infringing acts unless enjoined by this Court.

RESPONSE: Denied.

                                          COUNT IV
                                (Infringement of the ‘115Patent)

        90.      Align incorporates by reference its allegations in Paragraphs 1-89 as if fully
restated in this paragraph.

RESPONSE: Defendants restate and reincorporate their responses to paragraphs 1-89 as if fully

set forth herein.




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         91.    The ’115 patent describes in detail and claims in various ways inventions in
systems and devices for improving a virtual model by creating, recreating or reconstructing
finish line data or other geometry corresponding to an obstructed part of a model.

RESPONSE: Denied.

         92.     The ’115 patent describes problems and shortcomings in the then-existing field of
digital dentistry and describes and claims novel and inventive technological improvements and
solutions to such problems and shortcomings. (Exhibit 4 at 1:26-62.) The claimed invention
relates to the reconstruction of scanning data of the intraoral cavity that is obscured.

RESPONSE: Denied.

        93.     A parameter used in the design and manufacture of a dental prosthesis, such as a
crown or bridge, is the finish line, or transition boundary between the prosthesis and the dental
preparation, and this needs to be precisely defined in three-dimensions. Obtaining the finish line
coordinates from a computer virtual model is more efficient and often more accurate than from a
plaster cast, and moreover facilitates the production of such a prosthesis, for example via CNC
machining, rapid prototyping, or other computerized technologies, if desired. However, it is
often the case that when scanning the intra oral cavity to obtain 3D data of the preparation and
finish line on which the virtual model is based, part of the finish line, and possibly also the
shoulder and other parts of the preparation, may be obscured by soft tissues such as the gum that,
no longer being pushed by the dental surfaces that have been removed, deform to cover at least a
part of the finish line on the prepared dental site. Additionally or alternatively, part or all of the
finish line may be obscured by other agents, including, for example, accumulation of one or
more of saliva, blood, lubricant used with a dental drill, debris resulting from working the dental
site, and so on

RESPONSE: Denied.

       94.     The inventions disclosed in the ’115 patent provide a specific solution to this
problem by allowing for the manipulation in virtual space of an obscured portion of a virtual
model. Specifically, the ’115 patent allows the user to create, recreate or reconstruct finish line
data and other geometry corresponding to the obscured part.

RESPONSE: Denied.

        95.     On information and belief, 3Shape has been and is now directly and indirectly
infringing, literally and/or under the doctrine of equivalents, the ’115 patent by making, using,
selling, and/or offering for sale in the United States, and/or importing into the United States,
products covered by one or more of the claims of the ’115 patent, including the TRIOS and
TRIOS 3 intraoral scanning systems and TRIOS Module software product.

RESPONSE: Denied.

       96.    The ’115 patent is directed to a computerized method for manipulating a virtual
dental model, comprising: providing to a computer processor a 3D virtual model of a dental site

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comprising dental surfaces, wherein a first portion of the dental site is obscured by a material;
and executing instructions causing the computer processor to: separate the 3D virtual model into
a first virtual model part corresponding to an unobscured portion of the dental site and a second
virtual model part corresponding to the first portion of the dental site obscured by the material;
generate an auxiliary 3D virtual model comprising an unobscured first portion of the dental site
by providing topographical data of the first virtual model part and the second virtual model part
so as to reconstruct data of the first portion of the dental site to exclude the material; and
generate a reconstructed 3D virtual model of the dental site based on the first virtual model part
and the unobscured first portion.

RESPONSE: Denied.

        97.    3Shape’s TRIOS, TRIOS 3, and TRIOS Module software product, infringe at
least claim 1 of the ’115 patent. For example, 3Shape’s TRIOS and TRIOS 3 intraoral scanning
systems and TRIOS Module software product, practice a computerized method for manipulating
a virtual dental model, comprising: providing to a computer processor a 3D virtual model of a
dental site comprising dental surfaces, wherein a first portion of the dental site is obscured by a
material; and executing instructions causing the computer processor to: separate the 3D virtual
model into a first virtual model part corresponding to an unobscured portion of the dental site
and a second virtual model part corresponding to the first portion of the dental site obscured by
the material; generate an auxiliary 3D virtual model comprising an unobscured first portion of
the dental site by providing topographical data of the first virtual model part and the second
virtual model part so as to reconstruct data of the first portion of the dental site to exclude the
material; and generate a reconstructed 3D virtual model of the dental site based on the first
virtual model part and the unobscured first portion, as shown, for example, in the 3Shape videos
and user manuals below.




(See 3Shape, TRIOS Module User Manual, 5 (July 17, 2017 (1.17.2.2)),
https://www.3shape.com/en/knowledge-center/user-manuals#TRIOS-module (hereinafter,
“TRIOS Module User Manual”).)




(Id. at 32.)

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(3Shape Training Video at 2:29 available at https://www.youtube.com/watch?v=hIP1CbFnFPU.)
As shown on the left, a first portion of the dental site is obscured by a material, such as saliva.




(TRIOS Module User Manual at 27.) The model can be trimmed leaving just the unobscured
portion, e.g., separate the 3D virtual model into a first virtual model part corresponding to an
unobscured portion of the dental site and a second virtual model part corresponding to the first
portion of the dental site obscured by the material. As shown on the right of the training video
above, the TRIOS Module can generate an auxiliary 3D virtual model comprising an unobscured
first portion of the dental site by providing topographical data of the first virtual model part and
the second virtual model part so as to reconstruct data of the first portion of the dental site to
exclude the material, and generate a reconstructed 3D virtual model of the dental site based on
the first virtual model part and the unobscured first portion.

RESPONSE: Denied.



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        98.    3Shape possesses knowledge of and is aware of the ’115 patent by virtue of, at a
minimum, the filing of this Complaint and, on information and belief, possessed prior knowledge
of the ’115 patent by virtue of the prior business dealings between 3Shape and Align and other
facts described above.

RESPONSE: Denied.

       99.      3Shape also has been and is now actively inducing infringement of one or more
claims of the ’115 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.

        100. On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S alone and/or
acting in concert with, directing and/or authorizing 3Shape US to make, use, sell or offer for sale
in the United States or import into the United States the TRIOS and TRIOS 3 intraoral scanning
systems and TRIOS Module software product, (Exhibit 6; Exhibit 13 at 809:1-810:3, 899:2-24),
possesses an affirmative induce infringement by others (Exhibit 13 at 809:1-810:3, 899:2-24).
On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S induces 3Shape US to
infringe (Exhibits 6-10).

RESPONSE: Denied.

        101. On information and belief, 3Shape US alone and/or acting in concert with,
directing and/or authorizing 3Shape A/S and/or 3Shape TRIOS A/S to make, use, sell or offer for
sale in the United States or import into the United States the TRIOS and TRIOS 3 intraoral
scanning systems and TRIOS Module software product, (Exhibit 6; Exhibit 13 at 809:1-810:3,
899:2-24), possesses an affirmative intent to actively induce infringement by others. (Exhibits 6-
10; Exhibit 13 at 809:1-810:3, 899:2-24.)

RESPONSE: Denied.

        102. 3Shape has intended, and continues to intend to induce infringement of the ’115
patent by others and has knowledge, with specific intent, that the inducing acts would cause
infringement or has been willfully blind to the possibility that its inducing acts would cause the
infringing acts. For example, 3Shape is aware that the features claimed in the ’115 patent are
features in the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS Module software
product and are features used by others that purchase the TRIOS and TRIOS 3 intraoral scanning
systems and TRIOS Module software product and, therefore, that purchasers and end users will
infringe the ’115 patent by using the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS
Module software product in accordance with the promotional and training material disseminated
by 3Shape. 3Shape actively induces infringement of the ’115 patent with knowledge and the
specific intent to encourage that infringement by, inter alia, disseminating the TRIOS and
TRIOS 3 intraoral scanning systems and TRIOS Module software product and providing
promotional materials, marketing materials, training materials, instructions, product manuals,
user guides, and technical information (including but not limited to the marketing video,
brochure, and press release described in this Count of the Complaint) to others including, but not
limited to, resellers, distributors, customers, dentists, orthodontists, dental and orthodontic labs,

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and/or other end users of the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS
Module software product. Those third parties directly infringe the ’115 patent by making, using,
selling, offering for sale, and/or importing the TRIOS and TRIOS 3 intraoral scanning systems
and TRIOS Module software product.

RESPONSE: Denied.

       103. 3Shape also has been and is now contributing to the infringement of one or more
claims of the ’115 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.

        104. 3Shape has actively, knowingly, and intentionally contributed and continues to
actively, knowingly, and intentionally contribute to the infringement of the ’115 patent by having
sold or offered to sell and continuing to sell or offer for sale the TRIOS and TRIOS 3 intraoral
scanning systems and TRIOS Module software product within in the United States (Exhibit 6;
Exhibit 13 at 809:1-810:3, 899:2-24) and/or by importing the TRIOS and TRIOS 3 intraoral
scanning systems and TRIOS Module software product into the United States, with knowledge
that the infringing technology in the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS
Module software product is especially made and/or especially adapted for use in infringement of
the ’115 patent. (Exhibit 13 at 894:14-17; 896:18-897:13.) 3Shape has contributed to the
infringement by others with knowledge that the infringing technology in the TRIOS and TRIOS
3 intraoral scanning systems and TRIOS Module software product is a material part of the
patented invention, and with knowledge that the infringing technology in the TRIOS and TRIOS
3 intraoral scanning systems and TRIOS Module software product is not a staple article of
commerce suitable for substantial non-infringing use, and with knowledge that others including,
but not limited to, resellers, distributors, customers, dentists, orthodontists, dental and
orthodontic labs, and/or other end users of the TRIOS and TRIOS 3 intraoral scanning systems
and TRIOS Module software product, infringe and will continue to infringe the ’115 patent
because, due to their specific designs, the accused products and components thereof do not have
any substantial noninfringing uses. 3Shape has such knowledge at least because the claimed
features of the ’115 patent are used by others including, but not limited to, resellers, distributors,
customers, dentists, orthodontists, dental and orthodontic labs, and/or other end users of the
TRIOS and TRIOS 3 intraoral scanning systems and TRIOS Module software product. (Exhibits
7, 8.)

RESPONSE: Denied.

        105. On information and belief, 3Shape knew or should have known of the ’115 patent
and has acted, and continues to act, in an egregious and wanton manner by infringing the ‘115
patent. On information and belief, 3Shape’s infringement of the ’115 patent has been and
continues to be willful and deliberate. The market for intraoral scanners and related dental and
orthodontic software product contains a limited number of competitors, with Align being a
known pioneer with whom 3Shape has studied familiarity. The companies have worked together
in the past and 3Shape has had ample access to Align’s technology. Moreover, 3Shape spent
ample time studying Align patents. Upon information and belief, 3Shape knowingly developed


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and sold its competitive knockoff products in an infringing manner that was known to 3Shape or
was so obvious that 3Shape should have known about this infringement.

RESPONSE: Denied.

         106. Moreover, at least as of 2017, 3Shape engaged in a “big analysis” of Align’s
patents. 3Shape engaged in this analysis because it believed it could not use Align’s technology
until at least 2020. 3Shape was performing a risk assessment of Align’s patent portfolio because
3Shape recognized risks in introducing potentially infringing Align’s patents. During this
assessment, internal concerns at 3Shape were raised about Align’s patents. 3Shape continues to
make, use, sell, and/or offer for sale the TRIOS and TRIOS 3 intraoral scanning systems, and the
TRIOS Software, Dental System and/or Ortho System software in the United States, to import
the products into the United States, and to encourage its resellers and others to sell and use the
products in the United States, despite being aware of a substantial risk of infringement.

RESPONSE: Denied.

        107. On information and belief, despite knowing that its actions constituted
infringement of the ’115 patent and/or despite knowing that that there was a high likelihood that
its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing
actions, and continues to make, use and sell its infringing products.

RESPONSE: Denied.

        108.    3Shape’s acts of infringement have injured and damaged Align.

RESPONSE: Denied.

        109. 3Shape’s wrongful conduct has caused Align to suffer irreparable harm resulting
from the loss of its lawful patent rights to exclude others from making, using, selling, offering to
sell and importing the patented inventions. Upon information and belief, 3Shape will continue
these infringing acts unless enjoined by this Court.

RESPONSE: Denied.

                                         COUNT V
                               (Infringement of the ‘563 Patent)

        110. Align incorporates by reference its allegations in Paragraphs 1-109 as if fully
restated in this paragraph.

RESPONSE: Defendants restate and reincorporate their responses to paragraphs 1-109 as if

fully set forth herein.

         111. The ’563 patent describes in detail and claims in various ways inventions in
systems and devices for improving a virtual model by creating, recreating or reconstructing
finish line data or other geometry corresponding to an obstructed part of a model.

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RESPONSE: Denied.

         112. The ’563 patent describes problems and shortcomings in the then-existing field of
digital dentistry and describes and claims novel and inventive technological improvements and
solutions to such problems and shortcomings. (Exhibit 5 at 1:26-62.) The claimed invention
relates to the reconstruction of scanning data of the intraoral cavity that is obscured.

RESPONSE: Denied.

        113. A parameter used in the design and manufacture of a dental prosthesis, such as a
crown or bridge, is the finish line, or transition boundary between the prosthesis and the dental
preparation, and this needs to be precisely defined in three-dimensions. Obtaining the finish line
coordinates from a computer virtual model is more efficient and often more accurate than from a
plaster cast, and moreover facilitates the production of such a prosthesis, for example via CNC
machining, rapid prototyping, or other computerized technologies, if desired. However, it is
often the case that when scanning the intra oral cavity to obtain 3D data of the preparation and
finish line on which the virtual model is based, part of the finish line, and possibly also the
shoulder and other parts of the preparation, may be obscured by soft tissues such as the gum that,
no longer being pushed by the dental surfaces that have been removed, deform to cover at least a
part of the finish line on the prepared dental site. Additionally or alternatively, part or all of the
finish line may be obscured by other agents, including, for example, accumulation of one or
more of saliva, blood, lubricant used with a dental drill, debris resulting from working the dental
site, and so on

RESPONSE: Denied.

       114. The inventions disclosed in the ’563 patent provide a specific solution to this
problem by allowing for the manipulation in virtual space of an obscured portion of a virtual
model. Specifically, the ’563 allows the user to create, recreate or reconstruct finish line data and
other geometry corresponding to the obscured part.

RESPONSE: Denied.

        115. On information and belief, 3Shape has been and is now directly and indirectly
infringing, literally and/or under the doctrine of equivalents, the ’563 patent by making, using,
selling, and/or offering for sale in the United States, and/or importing into the United States,
products covered by one or more of the claims of the ’563 patent, including the TRIOS and
TRIOS 3 intraoral scanning systems and TRIOS Module software product.

RESPONSE: Denied.

        116. The ’563 patent is directed to a system for manipulating a virtual dental model,
the system comprising a computer having instructions that, when executed, cause the computer
to: receive a 3D virtual model of a dental site comprising dental surfaces, wherein a first portion
of the dental site is obscured by a material; manipulate the 3D virtual model to create an
auxiliary 3D virtual model that includes a representation of the first portion of the dental site in
which the first portion is not obscured by the material; and provide topographical data of the first

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portion from the virtual model and the auxiliary virtual model so as to reconstruct data of the
first portion of the dental site.

RESPONSE: Denied.

         117. 3Shape’s TRIOS, TRIOS 3, and TRIOS Module software product infringe at least
claim 1 of the ’563 patent. For example, 3Shape’s TRIOS, TRIOS 3, and TRIOS Module
software product are a system for manipulating a virtual dental model, the system comprising a
computer having instructions that, when executed, cause the computer to: receive a 3D virtual
model of a dental site comprising dental surfaces, wherein a first portion of the dental site is
obscured by a material; manipulate the 3D virtual model to create an auxiliary 3D virtual model
that includes a representation of the first portion of the dental site in which the first portion is not
obscured by the material; and provide topographical data of the first portion from the virtual
model and the auxiliary virtual model so as to reconstruct data of the first portion of the dental
site, as shown, for example, in the 3Shape videos and user manuals below.




(See 3Shape, TRIOS Module User Manual, 5 (July 17, 2017 (1.17.2.2)),
https://www.3shape.com/en/knowledge-center/user-manuals#TRIOS-module (hereinafter,
“TRIOS Module User Manual”).)




(Id. at 27.)




(Id. at 32.)




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(3Shape Training Video at 2:29 available at https://www.youtube.com/watch?v=hIP1CbFnFPU.)
As shown in the training video, a first portion of the dental site is obscured by a material, such as
saliva. Using the aforementioned trim tool the 3D virtual model can be manipulated to create an
auxiliary 3D virtual model that includes a representation of the first portion of the dental site in
which the first portion is not obscured by the material, and provide topographical data of the first
portion from the virtual model and the auxiliary virtual model so as to reconstruct data of the
first portion of the dental site.

RESPONSE: Denied.

        118. 3Shape possesses knowledge of and is aware of the ’563 patent by virtue of, at a
minimum, the filing of this Complaint and, on information and belief, possessed prior knowledge
of the ’563 patent by virtue of the prior business dealings between 3Shape and Align and other
facts described above.

RESPONSE: Denied.

       119. 3Shape also has been and is now actively inducing infringement of one or more
claims of the ’563 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.



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        120. On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S alone and/or
acting in concert with, directing and/or authorizing 3Shape US to make, use, sell or offer for sale
in the United States or import into the United States the TRIOS and TRIOS 3 intraoral scanning
systems and TRIOS Module software product, (Exhibit 6; Exhibit 13 at 809:1-810:3, 899:2-24),
possesses an affirmative induce infringement by others (Exhibit 13 at 809:1-810:3, 899:2-24).
On information and belief, 3Shape A/S and/or 3Shape TRIOS A/S induces 3Shape US to
infringe (Exhibits 6-10).

RESPONSE: Denied.

        121. On information and belief, 3Shape US alone and/or acting in concert with,
directing and/or authorizing 3Shape A/S and/or 3Shape TRIOS A/S to make, use, sell or offer for
sale in the United States or import into the United States the TRIOS and TRIOS 3 intraoral
scanning systems and TRIOS Module software product, (Exhibit 6; Exhibit 13 at 809:1-810:3,
899:2-24), possesses an affirmative intent to actively induce infringement by others. (Exhibits 6-
10; Exhibit 13 at 809:1-810:3, 899:2-24.)

RESPONSE: Denied.

        122. 3Shape has intended, and continues to intend to induce infringement of the ’563
patent by others and has knowledge, with specific intent, that the inducing acts would cause
infringement or has been willfully blind to the possibility that its inducing acts would cause the
infringing acts. For example, 3Shape is aware that the features claimed in the ’563 patent are
features in the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS Module software
product and are features used by others that purchase the TRIOS and TRIOS 3 intraoral scanning
systems and TRIOS Module software product and, therefore, that purchasers and end users will
infringe the ’563 patent by using the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS
Module software product in accordance with the promotional and training material disseminated
by 3Shape. 3Shape actively induces infringement of the ’563 patent with knowledge and the
specific intent to encourage that infringement by, inter alia, disseminating the TRIOS and
TRIOS 3 intraoral scanning systems and TRIOS Module software product and providing
promotional materials, marketing materials, training materials, instructions, product manuals,
user guides, and technical information (including but not limited to the marketing video,
brochure, and press release described in this Count of the Complaint) to others including, but not
limited to, resellers, distributors, customers, dentists, orthodontists, dental and orthodontic labs,
and/or other end users of the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS
Module software product. Those third parties directly infringe the ’563 patent by making, using,
selling, offering for sale, and/or importing the TRIOS and TRIOS 3 intraoral scanning systems
and TRIOS Module software product.

RESPONSE: Denied.

       123. 3Shape also has been and is now contributing to the infringement of one or more
claims of the ’563 patent, either literally or under the doctrine of equivalents.

RESPONSE: Denied.


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        124. 3Shape has actively, knowingly, and intentionally contributed and continues to
actively, knowingly, and intentionally contribute to the infringement of the ’563 patent by having
sold or offered to sell and continuing to sell or offer for sale the TRIOS and TRIOS 3 intraoral
scanning systems and TRIOS Module software product within in the United States (Exhibit 6;
Exhibit 13 at 809:1-810:3, 899:2-24) and/or by importing the TRIOS and TRIOS 3 intraoral
scanning systems and TRIOS Module software product into the United States, with knowledge
that the infringing technology in the TRIOS and TRIOS 3 intraoral scanning systems and TRIOS
Module software product is especially made and/or especially adapted for use in infringement of
the ’563 patent. (Exhibit 13 at 894:14-17; 896:18-897:13). 3Shape has contributed to the
infringement by others with knowledge that the infringing technology in the TRIOS and TRIOS
3 intraoral scanning systems and TRIOS Module software product is a material part of the
patented invention, and with knowledge that the infringing technology in the TRIOS and TRIOS
3 intraoral scanning systems and TRIOS Module software product is not a staple article of
commerce suitable for substantial non-infringing use, and with knowledge that others including,
but not limited to, resellers, distributors, customers, dentists, orthodontists, dental and
orthodontic labs, and/or other end users of the TRIOS and TRIOS 3 intraoral scanning systems
and TRIOS Module software product, infringe and will continue to infringe the ’563 patent
because, due to their specific designs, the accused products and components thereof do not have
any substantial noninfringing uses. 3Shape has such knowledge at least because the claimed
features of the ’563 patent are used by others including, but not limited to, resellers, distributors,
customers, dentists, orthodontists, dental and orthodontic labs, and/or other end users of the
TRIOS and TRIOS 3 intraoral scanning systems and TRIOS Module software product. (Exhibits
7, 8.)

RESPONSE: Denied.

        125. On information and belief, 3Shape knew or should have known of the ’563 patent
and has acted, and continues to act, in an egregious and wanton manner by infringing the ‘563
patent. On information and belief, 3Shape’s infringement of the ’563 patent has been and
continues to be willful and deliberate. The market for intraoral scanners and related dental and
orthodontic software products contains a limited number of competitors, with Align being a
known pioneer with whom 3Shape has studied familiarity. The companies have worked together
in the past and 3Shape has had ample access to Align’s technology. Moreover, 3Shape spent
ample time studying Align patents. Upon information and belief, 3Shape knowingly developed
and sold its competitive knockoff products in an infringing manner that was known to 3Shape or
was so obvious that 3Shape should have known about this infringement.

RESPONSE: Denied.

         126. Moreover, at least as of 2017, 3Shape engaged in a “big analysis” of Align’s
patents. 3Shape engaged in this analysis because it believed it could not use Align’s technology
until at least 2020. 3Shape was performing a risk assessment of Align’s patent portfolio because
3Shape recognized risks in introducing potentially infringing Align’s patents. During this
assessment, internal concerns at 3Shape were raised about Align’s patents. 3Shape continues to
make, use, sell, and/or offer for sale the TRIOS and TRIOS 3 intraoral scanning systems, and the
TRIOS Software, Dental System and/or Ortho System software in the United States, to import


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the products into the United States, and to encourage its resellers and others to sell and use the
products in the United States, despite being aware of a substantial risk of infringement.

RESPONSE: Denied.

        127. On information and belief, despite knowing that its actions constituted
infringement of the ’563 patent and/or despite knowing that that there was a high likelihood that
its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing
actions, and continues to make, use and sell its infringing products.

RESPONSE: Denied.

       128.    3Shape’s acts of infringement have injured and damaged Align.

RESPONSE: Denied.

        129. 3Shape’s wrongful conduct has caused Align to suffer irreparable harm resulting
from the loss of its lawful patent rights to exclude others from making, using, selling, offering to
sell and importing the patented inventions. Upon information and belief, 3Shape will continue
these infringing acts unless enjoined by this Court.

RESPONSE: Denied.

                                    PRAYER FOR RELIEF

       Defendants deny that Plaintiff is entitled to any of the relief requested by the Complaint,

or any other remedy or relief whatsoever.

                                 AFFIRMATIVE DEFENSES

       Without any admission as to burden of proof, burden of persuasion, or the truth of any of

the allegations in Plaintiff’s Complaint, Defendants state the following affirmative defenses.

Defendants reserve the right to assert additional defenses, as warranted by the facts learned

through investigation and discovery.

                                   First Affirmative Defense
                            (Invalidity of U.S. Patent No. 9,844,420)

       One or more claims of the ’420 patent are invalid for failure to comply with one or more

of the requirements for patentability set forth in Title 35 of the U.S. Code, including §§ 101, 102,




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103, and 112, and/or invalid under any other ground provided by 35 U.S.C. § 282, and/or based

on other judicially-created bases for invalidity.

                                  Second Affirmative Defense
                        (Non-Infringement of U.S. Patent No. 9,844,420)

       Plaintiff has failed to aver any facts that support its allegations of infringement by the

accused products. The accused products will not infringe any valid and enforceable claim of the

’420 patent, either literally or under the doctrine of equivalents.

                                    Third Affirmative Defense
                             (Invalidity of U.S. Patent No. 7,357,634)

       One or more claims of the ’634 patent are invalid for failure to comply with one or more

of the requirements for patentability set forth in Title 35 of the U.S. Code, including §§ 101, 102,

103, and 112, and/or invalid under any other ground provided by 35 U.S.C. § 282, and/or based

on other judicially-created bases for invalidity.

                                  Fourth Affirmative Defense
                        (Non-Infringement of U.S. Patent No. 7,357,634)

       Plaintiff has failed to aver any facts that support its allegations of infringement by the

accused products. The accused products will not infringe any valid and enforceable claim of the

’634 patent, either literally or under the doctrine of equivalents.

                                    Fifth Affirmative Defense
                             (Invalidity of U.S. Patent No. 9,975,294)

       One or more claims of the ’294 patent are invalid for failure to comply with one or more

of the requirements for patentability set forth in Title 35 of the U.S. Code, including §§ 101, 102,

103, and 112, and/or invalid under any other ground provided by 35 U.S.C. § 282, and/or based

on other judicially-created bases for invalidity.




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                                   Sixth Affirmative Defense
                        (Non-Infringement of U.S. Patent No. 9,975,294)

       Plaintiff has failed to aver any facts that support its allegations of infringement by the

accused products. The accused products will not infringe any valid and enforceable claim of the

’294 patent, either literally or under the doctrine of equivalents.

                                  Seventh Affirmative Defense
                             (Invalidity of U.S. Patent No. 7,156,115)

       One or more claims of the ’115 patent are invalid for failure to comply with one or more

of the requirements for patentability set forth in Title 35 of the U.S. Code, including §§ 101, 102,

103, and 112, and/or invalid under any other ground provided by 35 U.S.C. § 282, and/or based

on other judicially-created bases for invalidity.

                                  Eight Affirmative Defense
                        (Non-Infringement of U.S. Patent No. 7,156,115)

       Plaintiff has failed to aver any facts that support its allegations of infringement by the

accused products. The accused products will not infringe any valid and enforceable claim of the

’115 patent, either literally or under the doctrine of equivalents.

                                    Ninth Affirmative Defense
                             (Invalidity of U.S. Patent No. 8,805,563)

       One or more claims of the ’563 patent are invalid for failure to comply with one or more

of the requirements for patentability set forth in Title 35 of the U.S. Code, including §§ 101, 102,

103, and 112, and/or invalid under any other ground provided by 35 U.S.C. § 282, and/or based

on other judicially-created bases for invalidity.




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                                    Tenth Affirmative Defense
                          (Non-Infringement of U.S. Patent No. 8,805,563)

        Plaintiff has failed to aver any facts that support its allegations of infringement by the

accused products. The accused products will not infringe any valid and enforceable claim of the

’563 patent, either literally or under the doctrine of equivalents.

                                   Eleventh Affirmative Defense
                                  (Prosecution History Estoppel)

        Plaintiff is estopped from arguing and have waived arguments that the claims of the ’420,

’634, ’294, ’115, and the ’563 patents cover the products described by virtue of amendments,

positions, and arguments made to the USPTO when obtaining the asserted patents.

                                   Twelfth Affirmative Defense
                                    (Failure to State a Claim)

        Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                  Thirteenth Affirmative Defense
                                        (Lack of Standing)

        Plaintiff do not have standing to assert claims for patent infringement under 35 U.S.C.

§ 271(a), (b), and (c).

                              Fourteenth Affirmative Defense
        (Equitable Estoppel, Laches, Waiver, Acquiescence, and/or Unclean Hands)

        Plaintiff’s claims for relief are barred by the doctrines of waiver, laches, acquiescence,

unclean hands, and/or estoppel with respect to asserted claims of the ’420, ’634, ’294, ’115, and

the ’563 patents because Plaintiff misled 3Shape as to its intent not to enforce these patents

against 3Shape after it learned, or through reasonable diligence should have learned, of its causes

of action against 3Shape, and since such time 3Shape has expended substantial amounts of time,

money, and effort to build its business, brand and recognition of its name and products.




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                                  Fifteenth Affirmative Defense
                                      (Covenant Not to Sue)

       Plaintiff has covenanted not to sue 3Shape on the asserted patents.

                                 Sixteenth Affirmative Defense
                                           (License)

       Plaintiff’s claims for relief are barred with respect to asserted claims of the ’420, ’634,

’294, ’115, and ’563 patents to the extent the accused 3Shape products are expressly or impliedly

licensed under these patents.

                                Seventeenth Affirmative Defense
                                        (Patent Misuse)

       Plaintiff’s claims are barred, in whole or in part, by the doctrine of patent misuse.


                                 Eighteenth Affirmative Defense
                                    (Limitations on Damages)

       Plaintiff is not entitled to damages on the sale of TRIOS and TRIOS 3 scanners as

Plaintiff has represented that the patents-in-suit are applicable to software and not hardware.

                               Nineteenth Affirmative Defense
                            (Additional Defenses or Counterclaims)

       Defendants reserve all defenses available under the Federal Rules of Civil Procedure and

the U.S. Patent laws and any additional defenses or counterclaims that discovery may reveal

including that Plaintiff has failed to aver any facts supporting the conclusion that they have

suffered any irreparable injury or harm under 35 U.S.C. § 283, and that Plaintiff has failed to

aver any facts supporting that this is an exceptional case and/or an award of attorney’s fees under

35 U.S.C. § 285.

       WHEREFORE, Defendants request that Plaintiff’s Complaint be dismissed with

prejudice and that Defendants be awarded the costs of this action, its attorneys’ fees, and all

other relief that this Court deems just and proper.

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                                     COUNTERCLAIMS

       For their counterclaims against Counterclaim-Defendant Align Technology, Inc.

(“Counterclaim-Defendant” or “Align”), Counterclaim-Plaintiffs 3Shape A/S, 3Shape Trios A/S,

and 3Shape, Inc. (collectively “Counterclaim-Plaintiffs” or “3Shape”), state as follows:

                                           PARTIES

         1.      Counterclaim-Plaintiff 3Shape A/S (“3Shape A/S”) is a Danish corporation with

 principal place of business at Holmens Kanal 7, 1060 Copenhagen K, Denmark.

         2.      Counterclaim-Plaintiff 3Shape Trios A/S (“3Shape Trios A/S”) is a Danish

 corporation with principal place of business at Holmens Kanal 7, 1060 Copenhagen K,

 Denmark.

         3.      Counter-claim Plaintiff 3Shape Inc. (“3Shape US”) is a Delaware corporation

 with a principal place of business at 10 Independence Boulevard, Suite 150, Warren, New

 Jersey 07059.

         4.      Upon information and belief, Counterclaim-Defendant Align Technology Inc.

 (“Align”) is a Delaware corporation with its principal place of business in San Jose, California.

                                JURISDICTION AND VENUE

         5.      Counterclaim-Plaintiffs’ counterclaims arise under the Patent Laws of the

 United States, 35 U.S.C. § 1 et seq. and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

 2202.

         6.      This Court has original jurisdiction over the subject matter of these

 counterclaims pursuant to 28 U.S.C. §§ 1331, 1338, 2201, and 2202.




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         7.       This Court has personal jurisdiction over Counterclaim-Defendant because

 Counterclaim-Defendant has availed itself of the rights and privileges of this forum by bringing

 this civil action in this judicial district and because, upon information and belief, Counterclaim-

 Defendant conducts substantial business in, and has regular and systematic contact with, this

 judicial district.

         8.       Venue for these counterclaims is proper in this judicial district pursuant to 28

 U.S.C. §§ 1391(b) and (c) and 1400(b).

                                  FACTUAL BACKGROUND

         9.       3Shape is a pioneer developer of dental equipment and software for use by

 dental professionals and laboratories since 2004. In particular, 3Shape TRIOS A/S, a sister

 company of 3Shape A/S and 3Shape US, designs, develops, manufactures, and sells Trios, the

 first color, wireless intraoral full mouth scanner in the industry, and related software products.

 The Trios system can be used for scanning, designing and ordering of clear aligners and a

 number of other orthodontic treatments or dental products.

         10.      Trios has been named the best intraoral scanner by the industry for five years in

 a row. Trios was also named the most accurate intraoral scanner in an independent American

 Dental Association study.

         11.      Trios has numerous operational advantages for dental professionals as well. The

 most important is that Trios is an open system scanner, integrated with many different

 providers of restorative products and orthodontic treatments. Dental professionals can send

 scans directly from Trios to any provider that accepts STL files, the open industry standard file

 format. Trios’s open system provides patients and dental professionals freedom of choice and

 access to an open market for dental and orthodontic treatments.

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        12.     3Shape A/S sells and licenses certain software in the United States, including

 Ortho System, Ortho Analyzer, Ortho Planner, and Appliance Designer.

        13.     3Shape US provides marketing, warranty and repair services for 3Shape’s

 products and supports 3Shape’s third party U.S. resellers/distributors.

        14.     The TRIOS and TRIOS 3 scanners do not infringe any valid claim of any Align

 asserted patent, including the ’420, ’634, ’294, ’115, and ’563 patents.

        15.     Each of the asserted patents is invalid.

                                        COUNT I
                    (Declaratory Judgment of Invalidity of the ‘420 Patent)

        16.     Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 15 of the Counterclaims as if fully set forth herein.

        17.     3Shape is entitled to a declaration that the asserted claims of the ‘420 patent are

 invalid pursuant to at least 35 U.S.C. §§ 101, 102, 103 and 112.

                                       COUNT II
              (Declaratory Judgment of Non-infringement of the ‘420 Patent)

        18.     Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 17 of the Counterclaims as if fully set forth herein.

        19.     3Shape is entitled to a declaration that it does not infringe the asserted claims of

 the ‘420 patent.

                                        COUNT III
                    (Declaratory Judgment of Invalidity of the ‘634 Patent)

        20.     Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 19 of the Counterclaims as if fully set forth herein.



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        21.     3Shape is entitled to a declaration that the asserted claims of the ‘634 patent are

 invalid pursuant to at least 35 U.S.C. §§ 101, 102, 103 and 112.

                                      COUNT IV
              (Declaratory Judgment of Non-infringement of the ‘634 Patent)

        22.     Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 21 of the Counterclaims as if fully set forth herein.

        23.     3Shape is entitled to a declaration that it does not infringe the asserted claims of

 the ‘634 patent.

                                        COUNT V
                    (Declaratory Judgment of Invalidity of the ‘294 Patent)

        24.     Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 23 of the Counterclaims as if fully set forth herein.

        25.     3Shape is entitled to a declaration that the asserted claims of the ‘294 patent are

 invalid pursuant to at least 35 U.S.C. §§ 101, 102, 103 and 112.

                                      COUNT VI
              (Declaratory Judgment of Non-infringement of the ‘294 Patent)

        26.     Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 25 of the Counterclaims as if fully set forth herein.

        27.     3Shape is entitled to a declaration that it does not infringe the asserted claims of

 the ‘294 patent.

                                       COUNT VII
                    (Declaratory Judgment of Invalidity of the ’115 Patent)

        28.     Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 27 of the Counterclaims as if fully set forth herein.


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         29.    3Shape is entitled to a declaration that the asserted claims of the ’115 patent are

 invalid pursuant to at least 35 U.S.C. §§ 101, 102, 103 and 112.

                                      COUNT VIII
               (Declaratory Judgment of Non-infringement of the ’115 Patent)

         30.    Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 29 of the Counterclaims as if fully set forth herein.

         31.    3Shape is entitled to a declaration that it does not infringe the asserted claims of

 the ’661 patent.

                                       COUNT IX
                    (Declaratory Judgment of Invalidity of the ’563 Patent)

         32.    Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 31 of the Counterclaims as if fully set forth herein.

         33.    3Shape is entitled to a declaration that the asserted claims of the ’563 patent are

 invalid pursuant to at least 35 U.S.C. §§ 101, 102, 103 and 112.

                                        COUNT X
               (Declaratory Judgment of Non-infringement of the ’563 Patent)

         34.    Counterclaim-Plaintiffs restate and reallege each of the foregoing paragraphs 1-

 33 of the Counterclaims as if fully set forth herein.

         35.    3Shape is entitled to a declaration that it does not infringe the asserted claims of

 the ’563 patent.

                                    PRAYER FOR RELIEF

       WHEREFORE, Counterclaim-Plaintiffs respectfully request that this Court enter a

judgment in their favor and against Counterclaim-Defendant as follows:



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            A.    Dismissing the Complaint with prejudice and entering judgment for
                  Counterclaim-Plaintiffs;

            B.    Declaring that 3Shape has not infringed any valid and enforceable claim
                  of the ’420 patent;

            C.    Declaring that 3Shape has not infringed any valid and enforceable claim
                  of the ’634 patent;

            D.    Declaring that 3Shape has not infringed any valid and enforceable claim
                  of the ’294 patent;

            E.    Declaring that 3Shape has not infringed any valid and enforceable claim
                  of the ’115 patent;

            F.    Declaring that 3Shape has not infringed any valid and enforceable claim
                  of the ’563 patent;

            G.    Awarding Counterclaim-Plaintiffs their reasonable attorney’s fees, costs
                  and expenses incurred in this action; and

            H.    Awarding any such other and further relief as this Court may deem proper.




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Dated: October 14, 2019




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